                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           Nos. 3:11-00012 & 3:11-00194
                                                )           JUDGE CAMPBELL
CHARLES HOUSTON MOUNT, JR.                      )

                                             ORDER

       Pending before the Court is the Defendant’s Motion For Extension Of Time. Through the

Motion, the Defendant requests that both parties be given an extension of time, until July 21,

2015, in which to file any supplemental briefs in this matter. The Motion is GRANTED.

       It is so ORDERED.


                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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